                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:04CR190-T

UNITED STATES OF AMERICA                          )
                                                  )                 FINAL ORDER
                v.                                )            CONFIRMING FORFEITURE
                                                  )
THOMAS L. JACOBS                                  )

        On November 8, 2005, this Court entered a preliminary order of forfeiture pursuant to 21

U.S.C. §853(n) and Fed. R. Crim. P. 32.2(b), based upon the defendant’s plea of guilty to Counts

One, Seven, Twelve, Nineteen, Twenty-Four, and Twenty-Seven in the bill of indictment.

        On May 12, 19, and 26, 2006, the United States published in the Mecklenburg Times, a

newspaper of general circulation, notice of this forfeiture and of the intent of the government to

dispose of the property in accordance with the law, and further notifying all third parties of their right

to petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. It appears from the record that no such petitions have been filed.

        IT IS, THEREFORE, ORDERED that, in accordance with Rule 32.2(c)(2), the preliminary

order of forfeiture is confirmed as final. All right, title, and interest in the following property,

whether real, personal, or mixed, has therefore been forfeited to the United States for disposition

according to law: the sum of $1,856 in United States currency.

                                                      Signed: May 22, 2007




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